                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

 INFERNAL TECHNOLOGY, LLC, and               )
 TERMINAL REALITY, INC.,                     )
                                             )
        Plaintiffs,                          ).    ORDER GRANTING JOINT MOTION
                                             )              TO STAY
V.                                           )
                                             )              NO. 5:20-CV-00223-D
 UBISOFT,.INC. and,                          )
 UBISOFT ENTERTAINMENTS.A:,                  )
                                             )
        Defendants.                          )



      The Court, having considered the parties' Renewed Joint Motion to Stay and Brief in

Support of Joint Motion to Stay hereby GRANTS the motion.

      SO ORDERED, this ___A__day of October, 2021.




                                         United States District Judge




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